Case 1:04-mc-OlOO4-.]DT-STA Document 3 Filed 04/28/05 Page 1 of 2 /%£ge|D 1

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IN THE UNITED sTATES DISTRICT COURT 54/°,;> " -~--\ 0
FOR THE WESTERN msch 0F TENNESSEE M 33 ~C
EASTERN DIVISION n ;5 43 ‘9,
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UNITED sTA'rEs 01= AMERICA, ' /C/]/ g 049/940
" 0 ' C`/*
Plainaff, /(SO/t/ `
vs. Case No. 1:04mc1004
PHILLIP KIMMEL
Dcfendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Coun on a motion for refund of the cash appearance boud. It now appears
that the defendant has complied with the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the $1000.00 appearance bond (receipt J27556 ) for this defendant
be cancelled and discharged and the Clcrk is directed to issue a check on the Registry in the sum of $IOO0.00,

payable to: Ruthie Kl`mmel, 420 Dee Moore Road, Selrner, TN 38375 ; in full refund of the cash appearance bond

 

  

 

posted herein.
5 . M
S D. TODD
ITED STATES DISTRICT JUDGE
DATE; 27 Q?M¢L 9'5`$$
Approved:

ROBERT R. DI TROLIO, CLERK OF COUR'I`

BY; (` :QKQ_,\§L

Deputy Clerk n

Thls document entered on the dockets in m lt
with Rule 58 and,‘or_79 (a) FRCF' on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:04-MC-0]004 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Phillip Kimmel
420 Dee Mc)c)re Rd.
Selmer7 TN 38375

USA

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Honorable J ames Todd
US DISTRICT COURT

